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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

 DENNIS P. MURPHY, as Personal
 Representative of the Estate of
 RAYMOND FRANCISCO, Deceased,

                Plaintiff,

 v.                                                               No. 1:20-cv-00192-KG-LF

 NAVAJO EXPRESS, INC.,
 GAIL MARY ROLAND, and
 LOVE’S TRAVEL STOPS &
 COUNTRY FOOD STORES, INC.

                Defendants.

                        ORDER GRANTING PLAINTIFF’S
               UNOPPOSED MOTION TO EXTEND RESPONSE DEADLINE

       THE COURT, having reviewed the Plaintiff’s Unopposed Motion to Extend Response

Deadline, the Court having reviewed the pleadings herein and noting that Defendants do not

oppose this Motion, finds the Motion well-taken and hereby ORDERS that Plaintiff’s deadline to

respond to Defendants pretrial motions in the above-entitled and numbered civil action be extended

from October 29, 2021 to November 12, 2021.



                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE

SLOAN, HATCHER, PERRY, RUNGE,
ROBERTSON & SMITH

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